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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                                              CASE No.:
MICHAEL R. MCNEIL,

  Plaintiff,

vs.

JUAN M. BEITIA, LOUISE M. BEITIA,
and FRAZE'S SCRATCH COOKIN', INC.,
d/b/a FRAZE'S SCRATCH COOKIN'

     Defendants.
____________________________________/

                                   COMPLAINT
      Plaintiff, MICHAEL R. MCNEIL (hereinafter the “Plaintiff”), through

undersigned counsel, hereby files this Complaint and sues JUAN M. BEITIA,

LOUISE M. BEITIA, and FRAZE’S SCRATCH COOKIN’, INC., a Florida

Corporation, d/b/a FRAZE’S SCRATCH COOKIN’, (hereinafter, collectively the

“Defendants”), (hereinafter, collectively the “Defendants”), for injunctive relief,

attorney’s fees and costs (including, but not limited to, court costs and expert fees),

pursuant to 42 U.S.C. §12181, et. seq., (“AMERICANS WITH DISABILITIES

ACT” or “ADA”) and alleges:
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                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter

referred to as the “ADA”). This Court is vested with jurisdiction under 28 U.S.C.

§1331 and §343.

      2.     Venue is proper in this Court, Middle District pursuant to 28 U.S.C.

§1391(B) in that all events giving rise to this lawsuit occurred in Volusia County,

Florida.

      3.     At the time of Plaintiff’s visit to Defendants’ Subject Facilities, prior

to instituting the instant action, MICHAEL R. MCNEIL (hereinafter referred to as

“MCNEIL”), was a resident of the State of Florida, suffered from what constitutes

a “qualified disability” under the Americans with Disabilities Act of 1990, and

used a wheelchair for mobility. Plaintiff has traumatic brain injury (TBI). He is

required to traverse in a wheelchair and is substantially limited to performing one

or more major life activities including, but not limited to, walking, standing,

grabbing, grasping, and/or pinching.

      4.     The Plaintiff personally visited, in or about December 2, 2020,

Defendants’ Subject Facilities, but was denied full and equal access to, and full and

equal enjoyment of, the facilities services, goods, privileges and accommodations

offered within Defendants’ Subject Facilities, which is the subject of this lawsuit,


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even though he would be classified as a “bona fide patron”, because of his

disabilities.    Plaintiff lives in Volusia County, Florida, in close proximity to

Defendants, (within 3.7 miles) and travels in the surrounding areas near

Defendants’ Subject Facilities on a regular basis.

       5.       The Defendants, JUAN M. BEITIA, LOUISE M. BEITIA, and

FRAZE’S SCRATCH COOKIN’, INC., a Florida Corporation, d/b/a FRAZE’S

SCRATCH COOKIN’ are authorized to conduct and are conducting business

within the State of Florida.

       6.       Upon information and belief, FRAZE’S SCRATCH COOKIN’, INC.,

is the lessee and/or operator of the real property (the “Subject Facility”), and the

owner of the improvements where the Subject Facility is located which is the

subject of this action, the establishment commonly referred to as FRAZE’S

SCRATCH COOKIN’ located at 1008 RIDGEWOOD AVENUE, HOLLY HILL,

FLORIDA, 32117.

       7.       Upon information and belief, JUAN M. BEITIA and LOUISE M.

BEITIA are the lessor, operator and/or owners of the real property (the “Subject

Facility”), and the owners of the improvements where the Subject Facilities are

located which are the subjects of this action.




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      8.    All events giving rise to this lawsuit occurred in the State of Florida.

Venue is proper in this Court as the premises are located in Volusia County in the

Middle District, Orlando Division.

             COUNT I – VIOLATIONS OF THE AMERICANS WITH

                               DISABILITIES ACT

      9.    On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises

were provided one and a half years from enactment of the statute to implement its

requirements. The effective date of the Title III of the ADA was January 26, 1992.

42 U.S.C. §12181; 20 C.F.R. §36.508(a).

      10.   Congress found, among other things, that:

            (i)     some 43,000,000 Americans have one or more physical or
                    mental disabilities, and this number shall increase as the
                    population continues to grow older;

            (ii)    historically, society has tended to isolate and segregate
                    individuals with disabilities, and, despite some improvements,
                    such forms of discrimination against disabled individuals
                    continue to be a pervasive social problem, requiring serious
                    attention;

            (iii)   discrimination against disabled individuals persists in such
                    critical    areas     as   employment,     housing,    public
                    accommodations, transportation, communication, recreation,
                    institutionalization, health services, voting and access to
                    public services and public facilities;

            (iv)    individuals with disabilities continually suffer forms of
                    discrimination, including outright intentional exclusion, the
                    discriminatory effects of architectural, transportation, and

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                     communication barriers, failure to make modifications to
                     existing facilities and practices. Exclusionary qualification
                     standards and criteria, segregation, and regulation to lesser
                     services, programs, benefits, or other opportunities; and,

             (v)     the continuing existence of unfair and unnecessary
                     discrimination and prejudice denies people with disabilities
                     the opportunity to compete on an equal basis and to pursue
                     those opportunities for which our country is justifiably
                     famous, and costs the United States billions of dollars in
                     unnecessary expenses resulting from dependency and non-
                     productivity.

      42 U.S.C. §12101(a)(1)-(3), (5) and (9).
      11.    Congress explicitly stated that the purpose of the ADA was to:

             (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with
                     disabilities;

             (ii)    provide clear, strong, consistent, enforceable standards
                     addressing discrimination against individuals with
                     disabilities; and,

             (iii)   invoke the sweep of congressional authority, including the
                     power to enforce the fourteenth amendment and to regulate
                     commerce, in order to address the major areas of
                     discrimination faced day-to-day by people with disabilities.

      42 U.S.C. §12101(b)(1)(2), and (4).

      12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants

are places, of public accommodation in that they are establishments which provide

goods and services to the public.




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      13.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

and/or Subject Facility which is the subject of this action is a public

accommodation covered by the ADA and which must be in compliance therewith.

      14.      The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations and/or undergone remodeling, repairs and/or

alterations since January 26, 1990.

      15.      Defendants have discriminated, and continue to discriminate, against

the Plaintiff, and others who are similarly situated, by denying full and equal

access to, and full and equal enjoyment of, goods, services, facilities, privileges,

advantages and/or accommodations at Defendants’ Subject Facilities in derogation

of 42 U.S.C. §12101, et. seq., and as prohibited by 42 U.S.C. §12182 et. seq., and

by   failing    to   remove    architectural   barriers   pursuant   to   42    U.S.C.

§12182(b)(2)(a)(iv), where such removal is readily achievable.

      16.      The Plaintiff has been unable to, and continues to be unable to, enjoy

full and equal safe access to, and the benefits of, all accommodations and services

offered at Defendants’ Subject Facilities. Prior to the filing of this lawsuit, the

Plaintiff visited the subject properties and was denied full and safe access to all the

benefits, accommodations, and services of the Defendants.        Prior to the filing of

this lawsuit, MCNEIL, personally visited JUAN M. BEITIA, LOUISE M.

BEITIA, and FRAZE’S SCRATCH COOKIN’, INC., d/b/a FRAZE’S SCRATCH


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COOKIN’, with the intention of using Defendants’ facilities but was denied full

and safe access to the facilities, and therefore suffered an injury in fact. As stated

herein, the Plaintiff has visited the Subject Facilities in the past, prior to the filing

of this lawsuit, resides near said Subject Facility, and Plaintiff intends to return to

the Subject Facility and Property within six months, or sooner, upon the Subject

Facility being made accessible. As such, Plaintiff is likely to be subjected to

continuing discrimination at the Subject Facility unless it is made readily

accessible to and usable by individuals with disabilities to the extent required

under the ADA, including the removal of the architectural barrier which remain at

the Subject Facility.

      17.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991,

the Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA, known as the Americans

with Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R.

Part 36, under which said Department may obtain civil penalties of up to $110,000

for the first violation and $150,000 for any subsequent violation.

      18.    The Defendants’ Subject Facilities are in violation of 42 U.S.C.

§12182 et. seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating

against the Plaintiff, as a result of interalia, the following specific violations:




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    VIOLATIONS

       a) Failure to provide ADA compliant number of accessible parking

          spaces, in violation of 2017 FAC, 2014 FAC and 2010 ADAS Section

          208.2.

       b) Failure to provide ADA compliant parking stall on the shortest

          accessible route to the building, in violation 2017 FAC, 2014 FAC

          and 2010 ADAS Section 208.3.1.

       c) Failure to provide ADA compliant accessible parking stall (missing),

          in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 208.2.

       d) Failure to provide ADA compliant parking stall striping and markings,

          in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.3.

       e) Failure to provide ADA compliant parking stall width clearance, in

          violation 2017 FAC, 2014 FAC Section 502.1.

       f) Failure to provide ADA compliant access aisle (missing), in violation

          2017 FAC, 2014 FAC and 2010 ADAS Section 502.2.

       g) Failure to provide ADA compliant access aisle striping and markings,

          in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.3.

       h) Failure to provide ADA compliant access aisle width clearance, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.1.




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       i) Failure to provide ADA compliant parking stall signage, in violation

          2017 FAC, and 2014 FAC Section 502.6.

       j) Failure to provide ADA compliant number of exterior table seating, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

       k) Failure to provide ADA compliant exterior table clearances, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

       l) Failure to provide ADA compliant accessible route that does not

          provide abrupt changes in elevation greater than ¼ inch, leading to the

          exterior dining areas, in violation 2017 FAC, 2014 FAC and 2010

          ADAS Section 303.2 and 303.3.

       m) Failure to provide ADA compliant entrance door hardware, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 309.4.

       n) Failure to provide ADA compliant number of interior table seating, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

       o) Failure to provide ADA compliant interior table clearances, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

       p) Failure to provide ADA compliant transaction counter height, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1 and

          904.4.2.




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        q) Failure to provide ADA compliant transaction counter clear floor

           space, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

           904.4.1.

        r) Failure to provide ADA compliant directional signage to accessible

           restroom, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

           216.8.

        s) Failure to provide ADA compliant restroom signage, in violation 2017

           FAC, 2014 FAC and 2010 ADAS Section 216.8.

        t) Failure to provide ADA compliant restroom door hardware, in

           violation 2017 FAC, 2014 FAC and 2010 ADAS Section 309.4.

        u) Failure to provide ADA compliant lavatory underside clearance, in

           violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.3.1.

        v) Failure to provide ADA compliant insulated pipes, in violation 2017

           FAC, 2014 FAC and 2010 ADAS Section 606.5.

        w) Failure to provide ADA compliant mirror, in violation 2017 FAC,

           2014 FAC and 2010 ADAS Section 603.3.

        x) Failure to provide ADA compliant rear grab bar, in violation 2017

           FAC, 2014 FAC and 2010 ADAS Section 609.4.

        y) Failure to provide ADA compliant side grab bar, in violation 2017

           FAC, 2014 FAC and 2010 ADAS Section 609.4.


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            z) Failure to provide ADA compliant toilet paper location, in violation

               2017 FAC, 2014 FAC and 2010 ADAS Section 604.7.

            aa) Failure to provide ADA compliant urinal rim height, in violation 2017

               FAC, 2014 FAC and 2010 ADAS Section 605.2.

            bb)         Failure to provide ADA compliant urinal flushing mechanism

               height, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

               605.4.

      19.      Upon information and belief, there are other current violations of the

ADA at Defendants’ Properties, and only once a full inspection is done can all said

violations be identified.

      20.      To date, the readily achievable barriers and other violations of the

ADA still exist and have not been remedied or altered in such a way as to

effectuate compliance with the provisions of the ADA. The barriers to access at

the Subject Facilities, as described above, have severely diminished Plaintiff’s

ability to avail himself of the goods and services offered at the Subject Facilities,

and compromise his safety.

      21.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R.

§36.304, the Defendants were required to make the Subject Facility, a place of

public accommodation, accessible to persons with disabilities since January 28,

1992. To date, the Defendants have failed to comply with this mandate.


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      22.    The Plaintiff has been obligated to retain the undersigned counsel for

the filing and prosecution of this action. The Plaintiff is entitled to have his

reasonable attorney’s fees, costs and expenses paid by the Defendants, pursuant to

42 U.S.C. §12205.

      23.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority

to grant the Plaintiff’s injunctive relief; including an order to alter the subject

facilities to make them readily accessible to, and useable by, individuals with

disabilities to the extent required by the ADA and closing the subject facility until

the requisite modifications are completed.

      WHEREFORE, the Plaintiff hereby demands judgment against the

Defendants and the Court declare that the subject property and Subject Facilities

owned, operated, leased, controlled and/or administered by the Defendants are

violative of the ADA;

      A.     The Court enter an Order requiring the Defendants to alter their

             facilities and amenities to make them accessible to and usable by

             individuals with disabilities to the full extent required by Title III of

             the ADA;

      B.     The Court enter an Order directing the Defendants to evaluate and

             neutralize their policies, practices and procedures toward persons with




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           disabilities, for such reasonable time so as to allow the Defendants to

           undertake and complete corrective procedures to the Subject Facility;

     C.    The Court award reasonable attorney’s fees, all costs (including, but

           not limited to court costs and expert fees) and other expenses of suit,

           to the Plaintiff; and

     D.    The Court award such other and further relief as it deems necessary,

           just and proper.



     Dated: This 30th day of June 2021.

                                           Respectfully submitted,

                                           By: /S/Joe M. Quick, Esq.
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